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               Exhibit D
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 IN RE:                                            §                CHAPTER 11
                                                   §
 NATIONAL RIFLE ASSOCIATION                        §                CASE NO. 21-30085-hdh11
 OF AMERICA and SEA GIRT LLC                       §
                                                   §
           DEBTORS1                                §                JOINTLY ADMINISTERED




    DECLARATION OF JOHN C. FRAZER IN SUPPORT OF APPLICATION FOR
   ENTRY OF AN ORDER PURSUANT TO, INTER ALIA, SECTION 327(e) OF THE
 BANKRUPTCY CODE AUTHORIZING AND APPROVING THE EMPLOYMENT AND
           RETENTION EFFECTIVE AS OF THE PETITION DATE
  OF BREWER, ATTORNEYS & COUNSELORS AS SPECIAL COUNSEL FOR THE
                DEBTORS AND DEBTORS IN POSSESSION

     I, John C. Frazer, pursuant to 28 U.S.C. § 1746, state:

           1.    I am the Secretary and General Counsel of the National Rifle Association of

 America (the “NRA”). I have held the position of General Counsel since January 2015, and have

 been elected annually by the NRA Board of Directors to the position of Secretary since April 2015.

 As General Counsel, I am responsible for supervising outside counsel and monitoring and

 controlling legal costs. Unless otherwise noted, I have personal knowledge of the matters stated

 herein.

           2.    Proposed special counsel Brewer, Attorneys and Counselors (“BAC”) were first

 retained by the NRA in March 2018. Although BAC had not previously worked with the NRA,




 1
  The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
 Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.

 Declaration of John C. Frazer in Support of Debtors’ Application for Entry of an Order Authorizing and
 Approving the Employment, Effective as of the Petition Date, of Brewer, Attorneys & Counselors as Special
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 the firm came highly recommended by another outside lawyer on whom the NRA routinely relied.

 Based on that recommendation, BAC and other firms met with NRA executives to discuss potential

 legal strategies the NRA might pursue to preserve its corporate relationships in the wake of the

 Parkland tragedy and to fortify itself in anticipation of government hostilities in New York. Other

 firms present at these meetings, and considered by the NRA as alternatives or co-counsel to BAC

 in various matters, included Cooper & Kirk LLP and Morgan, Lewis & Bockius LLP. The NRA

 has used each of these firms in the past, and I am familiar with their hourly rates, which (allowing

 for regional variations and firms’ internal variations for different levels of partners and associates)

 are comparable to BAC’s hourly rates. Ultimately, the NRA chose to engage BAC.

         3.      As BAC’s relationship with the NRA deepened over the ensuing two years and its

 institutional knowledge expanded, the NRA chose to engage the firm for additional matters. From

 time to time, other firms contended for the same work, or were even employed as co-counsel for a

 time before the NRA ultimately chose to employ BAC exclusively. In sum, over the course of

 BAC’s engagement, the NRA considered at least four law firms as alternatives to BAC, but

 ultimately continued to rely on BAC as its primary outside litigation counsel.

         4.      Commencing with BAC’s initial retention in March 2018, I was responsible for

 supervising the firm’s activities and reviewing all of the invoices it submitted to the NRA for

 payment. On August 6, 2020, the New York State Office of the Attorney General (the “NYAG”)

 purported to commence litigation that named me as an individual defendant (the “NYAG State

 Action”), which gave rise to the potential for an apparent conflict if I continued to supervise the

 NRA’s outside counsel and litigation strategy.




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         5.       On September 10, 2020, NRA President Carolyn Meadows announced the

 formation of a Special Litigation Committee of independent directors (the “SLC”)2 to oversee the

 prosecution and defense of the NYAG State Action and certain related matters, namely: a

 companion lawsuit commenced August 6, 2020, by the District of Columbia Office of the Attorney

 General (the “DCAG Action”); and a federal section 1983 lawsuit by the NRA against the NYAG

 arising from the NYAG State Action and the investigation that preceded it (the “NYAG Federal

 Action” and, collectively with the NYAG State Action and the DCAG Action, the “SLC

 Litigation”). Except with regard to the SLC Litigation, I continue to oversee BAC’s activities and

 review any invoices it submits for payment.

         6.       On occasion, the NRA has negotiated fee caps and discounts with BAC, and from

 time to time the firm also applies fee caps or discounts on its own initiative. In addition, one case

 is being handled by BAC on a pro bono basis.3 However, generally speaking, most of the work

 performed by BAC for the NRA has been billed at BAC’s standard hourly rates, which I am

 informed and believe are no different for bankruptcy-related matters than for non-bankruptcy-

 related matters. BAC submits detailed monthly invoices narrating, in six-minute increments, the




         2
                  The SLC was formalized as an official committee of the NRA Board of Directors on
 January 7, 2021. It has been delegated corporate authority to oversee the following litigation matters:

         (i) the litigation captioned: People of the State of New York v. The National Rifle Association et al., Index
         No. 451625/2020 (Sup. Ct. N.Y.); (ii) the litigation captioned The National Rifle Association v. Letitia James,
         Case No. 1:20-cv-889 (N.D.N.Y. 2020); (iii) the litigation captioned District of Columbia v. NRA
         Foundation, Inc. et al., (2020 CA 003545 B); and (iv) any additional legal proceedings arising from or
         relating to the same facts, circumstances, or allegations as the foregoing, wherein the potential for an actual
         or apparent conflict of interest favors recusal by one or more NRA executives who would customarily oversee
         such proceedings.
           3
                     Specifically, BAC represents the NRA pro bono in connection with The National Rifle Association
 v. Andrew Cuomo, Case No. 1:20-cv-385 (N.D.N.Y. 2020), a section 1983 action challenging certain COVID-19
 restrictions that impede the exercise of Second Amendment rights.

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 work performed by its professionals and the corresponding hourly-rate charge.4 I conduct a

 detailed review of BAC’s invoices each month and evaluate, based on my familiarity with each

 engagement, whether the invoiced charges appear reasonable. I often elicit additional information

 from BAC’s partners to inform my judgment—e.g., I inquire about the reason for particular

 research, or the number of professionals required to be staffed on an assignment, or seek insight

 regarding the factors that drove particular expenditures of time. Such questions are consistently

 and transparently answered, and the responses I receive tend to reaffirm my confidence in BAC

 and the propriety of its billings.

         7.       As part of the initial retention and from time to time in the NRA’s annual budget

 process, I ask BAC to submit fee estimates for each matter it is handling. Aggregate expenditures

 that deviate from these budgets are analyzed and discussed.

         8.       Additionally, a portion of BAC’s invoices are reviewed by an outside law firm

 retained at the behest of certain insurance carriers; despite its obvious incentive to challenge BAC’s

 billings, that firm has repeatedly concluded that the charges invoiced by BAC are reasonable and

 should be paid in full.

         9.       At times, other NRA officers and employees may approach BAC directly with legal

 questions, or inquire about whether they should do so. I stay abreast of matters being referred to

 BAC and, where appropriate, re-direct certain issues to in-house counsel, or less expensive outside

 counsel, who are capable of handling them. Examples of items assigned to less-expensive counsel




         4
                    In addition, a BAC affiliate provides document review, issue tagging, related indexing and other
 services at prices the NRA determined to be substantially more cost effective than available alternatives.

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 include routine contract negotiations, regulatory filings, employment matters, and disputes,

 litigation or investigations unrelated to the high-level work entrusted to BAC.

         10.     I have discussed with BAC a staffing and budget plan covering each matter

 proposed to be handled by BAC for the 90-day period commencing with the filing of these

 chapter 11 cases and concluding April 15, 2021. Assuming that the Court approves BAC’s

 retention and employment, I will continue to elicit budget and staffing plans for subsequent periods

 from BAC thereafter, and approve or request changes to them based on my judgement as General

 Counsel.

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct to the best of my knowledge and belief.

         Dated: January 29, 2021



                                                                  /s/ John C. Frazer____
                                                                  John C. Frazer
                                                                  4847-3501-4362, v. 1




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 Approving the Employment, Effective as of the Petition Date, of Brewer, Attorneys & Counselors as Special
 Counsel for the Debtors
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